
388 U.S. 442 (1967)
RATNER ET AL.
v.
CALIFORNIA.
No. 10.
Supreme Court of United States.
Decided June 12, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE APPELLATE DEPARTMENT OF THE SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO.
Richard A. Lavine for petitioners.
Thomas C. Lynch, Attorney General of California, and Robert R. Granucci and Charles W. Rumph, Deputy Attorneys General, for respondent.
PER CURIAM.
The petition for a writ of certiorari is granted and the judgment of the Appellate Department of the Superior Court of California, County of San Mateo, is reversed. Redrup v. New York, 386 U. S. 767.
THE CHIEF JUSTICE, MR. JUSTICE CLARK, and MR. JUSTICE BRENNAN would affirm.
MR. JUSTICE HARLAN adheres to the views expressed in his separate opinions in Roth v. United States, 354 U. S. 476, 496, and Memoirs v. Massachusetts, 383 U. S. 413, 455, and on the basis of the reasoning set forth therein would affirm.
